                Case 10-40210                        Doc 1             Filed 09/08/10 Entered 09/08/10 11:05:45                                                          Desc Main
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                                                     United States Bankruptcy Court
                                                Northern District of Illinois, Eastern Division                                                                            Voluntary Petition

Name of Debtor (if individual, enter Last, First, Middle):                                            Name of Joint Debtor (Spouse) (Last, First, Middle):
Asmar, Enam
All Other Names Used by the Debtor in the last 8 years                                                All Other Names Used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                           (include married, maiden, and trade names):



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                     Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all): 9300                                                                   (if more than one, state all):

Street Address of Debtor (No. and Street, City, and State):                                           Street Address of Joint Debtor (No. and Street, City, and State):
2760 Paxford Lane

Aurora, IL                                                                      60502
County of Residence or of the Principal Place of Business:                                            County of Residence or of the Principal Place of Business:
DuPage
Mailing Address of Debtor (if different from street address):                                         Mailing Address of Joint Debtor (if different from street address):
sane



Location of Principal Assets of Business Debtor (if different from street address above):


                      Type of Debtor                                           Nature of Business                                      Chapter of Bankruptcy Code Under Which
                  (Form of Organization)                                        (Check one box.)                                           the Petition is Filed (Check one box)
                     (Check one box.)                              Health Care Business                                          Chapter 7                  Chapter 15 Petition for
       Individual (includes Joint Debtors)                         Single Asset Real Estate as defined in                        Chapter 9                  Recognition of a Foreign
        See Exhibit D on page 2 of this form.                      11 U.S.C § 101 (51B)                                          Chapter 11                 Main Proceeding
       Corporation (includes LLC and LLP)                          Railroad                                                      Chapter 12
                                                                   Stockbroker                                                                              Chapter 15 Petition for
       Partnership                                                                                                               Chapter 13
                                                                   Commodity Broker                                                                         Recognition of a Foreign
       Other (If debtor is not one of the above entities,
                                                                   Clearing Bank                                                                            Nonmain Proceeding
       check this box and state type of entity below.)
                                                                   Other                                                                                    Nature of Debts
                                                                                                                                                            (Check one box.)
                                                                                                                                 Debts are primarily consumer                 Debts are primarily
                                                                              Tax-Exempt Entity
                                                                                                                                 debts, defined in 11 U.S.C.                  business debts.
                                                                            (Check box, if applicable.)
                                                                                                                                 § 101(8) as "incured by an
                                                                   Debtor is a tax-exempt organization                           individual primarily for a
                                                                   under Title 26 of the United States                           personal, family, or house-
                                                                   Code (the Internal Revenue Code).                             hold purpose.
                           Filing Fee (Check one box.)                                                                                   Chapter 11 Debtors
                                                                                                          Check one box:
       Full Filing Fee attached
                                                                                                             Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D)
       Filing Fee to be paid in installments (Applicable to individuals only)                                Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D)
       Must attach signed application for the court's consideration certifying that the debtor is         Check if:
       unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                         Debtor's aggregate noncontingent liquidated debts (excluding debts owned to
                                                                                                              insiders or affiliates) are less than $2,343,300 (amount subject to adjustment
       Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must attach                    on 4/01/13 and every three years thereafter).
       signed application for the court's consideration. See Official Form 3B.                                  - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                                                                          Check all applicable boxes:
                                                                                                             A plan is being filed with this petition.
                                                                                                             Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                              of creditors, in accordance with 11 U.S.C. § 1126(b).
  Statistical/Administrative Information                                                                                                                                               THIS SPACE IS FOR
       Debtor estimates that funds will be available for distribution to unsecured creditors.                                                                                           COURT USE ONLY
       Debtor estimates that, after any exempt property is excluded and administrative
       expenses paid, there will be no funds available for distribution to unsecured creditors.
  Estimated Number of Creditors

  1-                 50-               100-                 200-           1,000-            5,001-             10,001-            25,001-             50,001-            Over
  49                 99                199                  999            5,000             10,000             25,000             50,000              100,000            100,000
  Estimated Assets

  $0 to              $50,001 to        $100,001 to          $500,001       $1,000,001        $10,000,001        $50,000,001       $100,000,001         $500,000,001       More than
  $50,000            $100,000          $500,000             to $1          to $10            to $50             to $100           to $500              to $1 billion      $1 billion
                                                            million        million           million            million           million
  Estimated Liabilities

  $0 to              $50,001 to        $100,001 to          $500,001       $1,000,001        $10,000,001        $50,000,001        $100,000,001        $500,000,001       More than
  $50,000            $100,000          $500,000             to $1          to $10            to $50             to $100            to $500             to $1 billion      $1 billion
                                                            million        million           million            million            million
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  Voluntary Petition                                                                                  Name of Debtor(s):        Asmar, Enam
  (This page must be completed and filed in every case)
                                                All Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet.)

Location                                                                                               Case Number:                                  Date Filed:
Where Filed:

Location                                                                                               Case Number:                                  Date Filed:
Where Filed:
                                  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet.)
  Name of Debtor:                                                                                      Case Number:                                  Date Filed:


  District:                                                                                            Relationship:                                 Judge:


                                             Exhibit A                                                                                              Exhibit B
                                                                                                                                    (To be completed if debtor is an individual
   (To be completed if debtor is required to file periodic reports (e.g., forms                                                     whose debts are primarily consumer debts.)
   10K and 10Q) with the Securities and Exchange Commission pursuant to
   Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting                         I, the attorney for the petitioner named in the foregoing petition, declare that I
   relief under chapter 11.)                                                                            have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                        12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                        available under each such chapter. I further certify that I delivered to the
                                                                                                        debtor the notice required by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.
                                                                                                             X     /s/ Dima F. Abuasabeh                                      9/3/2010
                                                                                                                                                                              Date

                                                                                                   Exhibit C
   Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
        No


                                                                                                   Exhibit D
   (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
   If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                               Information Regarding the Debtor - Venue
                                                                                         (Check any applicable box.)

               Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
               preceding the date of this petition or for a longer part of such 180 days than in any other District.


               There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


               Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or
               or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
               this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                             Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                         (Check all applicable boxes.)
               Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)

                                                                                                 (Name of landlord that obtained judgment)



                                                                                                 (Address of landlord)


               Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
               entire monetary default that gave rise to the judgment for possession, after the judgement for possession was entered, and

               Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
               filing of the petition.
               Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
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  Voluntary Petition                                                                          Name of Debtor(s):    Asmar, Enam
  (This page must be completed and filed in every case)

                                                                                          Signatures

                                                                                                                         Signature of a Foreign Representative
               Signature(s) of Debtor(s) (Individual/Joint)
    I declare under penalty of perjury that the information provided in this petition           I declare under penalty of perjury that the information provided in this petition
    is true and correct.                                                                        is true and correct, that I am the foreign representative of a debtor in a foreign
    [If petitioner is an individual whose debts are primarily consumer debts and has            proceeding, and that I am authorized to file this petition.
    chosen to file under Chapter 7] I am aware that I may proceed under chapter 7,
    11, 12 or 13 of title 11, United States Code, understand the relief available under         (Check only one box.)
    each such chapter, and choose to proceed under chapter 7.
                                                                                                     I request relief in accordance with chapter 15 of title 11, United States
    [If no attorney represents me and no bankruptcy petition preparer signs the
                                                                                                      Code. Certified copies of the documents required by § 1515 of title 11 are
    petition] I have obtained and read the notice required by § 342(b) of the
                                                                                                      attached.
    Bankruptcy Code.
                                                                                                     Pursuant to § 1511 of title 11, United States Code, I request relief in accordance
    I request relief in accordance with the chapter of title 11, United States Code,
                                                                                                     with the chapter of title 11 specified in this petition. A certified copy of the
    specified in this petition.
                                                                                                     order granting recognition of the foreign main proceeding is attached.

X     /s/ Enam Asmar                                                                           X
      Signature of Debtor                                                                           (Signature of Foreign Representative)
X
      Signature of Joint Debtor
                                                                                                    (Printed Name of Foreign Representative)
      Telephone Number (If not represented by attorney)
      9/3/10                                                                                        Date
      Date

                                      Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                                I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer
X     /s/ Dima F. Abuasabeh
                                                                                                as defined in 11 U.S.C. 110; (2) I prepared this document for compensation
                                                                                                and have provided the debtor with a copy of this document and the notice and
      Dima F. Abuasabeh                                                                         information required under 11 U.S.C. 110(b), 110(h), and 342(b); and, (3) if
      Printed Name of Attorney for Debtor(s)                                                    rules or guidelines have been promulgated pursuant to 11 U.S.C. 110(h) setting
      Abuasabeh & Associates                                                                    a maximum fee for services chargeable by bankruptcy petition preparers, I have
      Firm Name                                                                                 given the debtor notice of the maximum amount before preparing any document
      4747 Lincoln Mall Dr, 601                                                                 for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                                section. Official Form 19B is attached.
      Address
      Matteson, IL 60443
                                                                                                    Printed Name and title, if any, of Bankruptcy Petition Preparer

      708-747-4500                                                                              Social Security number (If the bankruptcy petition preparer is not an individual,
      Telephone Number                                                                          state the Social Security number of the officer, principal, responsible person or
      9/3/2010                                                                                  partner of the bankruptcy petition preparer.)(Required by 11 U.S.C. § 110.)
      Date
* In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                                    Address
certification that the attorney has no knowledge after an inquiry that the information
in the schedules is incorrect.
             Signature of Debtor (Corporation/Partnership)
                                                                                               X
    I declare under penalty of perjury that the information provided in this
    petition is true and correct, and that I have been authorized to file this
    petition on behalf of the debtor.
                                                                                                    Date
    The debtor requests relief in accordance with the chapter of title 11,
                                                                                                Signature of Bankruptcy Petition Preparer or officer, principal, responsible
    United States Code, specified in this petition.
                                                                                                person, or partner whose social security number is provided above.

                                                                                                Names and Social Security numbers of all other individuals who
      Signature of Authorized Individual                                                        prepared or assisted in preparing this document unless the bankruptcy petition:
                                                                                                preparer is not an individual.

      Printed Name of Authorized Individual                                                     If more than one person prepared this document, attach additional sheets
                                                                                                conforming to the appropriate official form for each person.

      Title of Authorized Individual                                                            A bankruptcy petition preparer's failure to comply with the provisions
                                                                                                of title 11 and the Federal Rules of Bankruptcy Procedure may result
      Date                                                                                      in fines or imprisionment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
B 1D (Official Form 1, Exhibit D)(12/09)
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                                      UNITED STATES BANKRUPTCY COURT
                                            Northern District of Illinois, Eastern Division

In Re:                          Asmar, Enam                             Case No.
                                   Debtor                                                        (if known)


                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT


                     Warning: You must be able to check truthfully one of the five statements regarding
             credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
             case, and the court can dismiss any case you do file. If that happens, you will lose whatever
             filing fee you paid, and your creditors will be able to resume collection activities against
             you. If your case is dismissed and you file another bankruptcy case later, you may be
             required to pay a second filing fee and you may have to take extra steps to stop creditors'
             collection activities.

                   Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
             must complete and file a separate Exhibit D. Check one of the five statements below and attach
             any documents as directed.

                    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
             from a credit counseling agency approved by the United States trustee or bankruptcy
             administrator that outlined the opportunities for available credit counseling and assisted me in
             performing a related budget analysis, and I have a certificate from the agency describing the
             services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
             developed through the agency.

                    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
             from a credit counseling agency approved by the United States trustee or bankruptcy
             administrator that outlined the opportunities for available credit counseling and assisted me in
             performing a related budget analysis, but I do not have a certificate from the agency describing
             the services provided to me. You must file a copy of a certificate from the agency describing the
             services provided to you and a copy of any debt repayment plan developed through the agency
             no later than 14 days after your bankruptcy case is filed.
B 1D (Official Form 1, Exh. D)(12/09) - Cont.
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                    3. I certify that I requested credit counseling services from an approved agency but was
             unable to obtain the services during the five days from the time I made my request, and the
             following exigent circumstances merit a temporary waiver of the credit counseling requirement
             so I can file my bankruptcy case now. [Summarize exigent circumstances here.]

                   If your certification is satisfactory to the court, you must still obtain the credit
             counseling briefing within the first 30 after you file your bankruptcy petition and
             promptly file a certificate from the agency that provided the counseling, together with a
             copy of any debt management plan developed through the agency. Failure to fulfill these
             requirements may result in dismissal of your case. Any extension of the 30-day deadline
             can be granted only for cause and is limited to a maximum of 15 days. Your case may also
             be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
             without first receiving a credit counseling briefing.

                   4. I am not required to receive a credit counseling briefing because of: [Check the
             applicable statement.][Must be accompanied by a motion for determination by the court.]
                                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                            illness or mental deficiency so as to be incapable of realizing and making rational
                            decisions with respect to financial responsibilities.);
                                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                            extent of being unable, after reasonable effort, to participate in a credit counseling
                            briefing in person, by telephone, or through the Internet.);
                                  Active military duty in a military combat zone.

                   5. The United States trustee or bankruptcy administrator has determined that the credit
             counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

             I certify under penalty of perjury that the information provided above is true and
             correct.




             Signature of Debtor           /s/ Enam Asmar
             Date:      9/3/10
B6 Summary (Official Form 6 - Summary) (12/07)
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                                          UNITED STATES BANKRUPTCY COURT
                                                Northern District of Illinois, Eastern Division

In Re:                              Asmar, Enam                                               Case No.
                                        Debtor                                                                                      (if known)

                                                                                              Chapter                                    7



                                                            SUMMARY OF SCHEDULES

Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all
claims from D, E, and F to determine the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical
Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




            NAME OF SCHEDULE                             ATTACHED             NO. OF SHEETS               ASSETS               LIABILITIES                 OTHER
                                                          (YES/NO)

 A - Real Property
                                                              Yes                      1                            0.00


 B - Personal Property
                                                              Yes                      5                      $2,220.00


 C - Property Claimed
                                                              Yes                      1
     as Exempt


 D - Creditors Holding
                                                              Yes                      1                                            $28,104.66
     Secured Claims


 E - Creditors Holding Unsecured
                                                              Yes                      2                                                     0.00
     Priority Claims


 F - Creditors Holding Unsecured
                                                              Yes                      3                                            $21,900.00
      Nonpriority Claims


 G - Executory Contracts and
                                                              Yes                      1
     Unexpired Leases


 H - Codebtors                                                                         1
                                                              Yes


 I - Current Income of
                                                              Yes                      1                                                                    $4,584.57
     Individual Debtor(s)


 J - Current Expenditures of
                                                              Yes                      1                                                                    $4,536.00
     Individual Debtor(s)


                                                     TOTAL                                    17              $2,220.00             $50,004.66
Form 6 - Statistical Summary (12/07)
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                                         UNITED STATES BANKRUPTCY COURT
                                               Northern District of Illinois, Eastern Division

In Re:                             Asmar, Enam                                            Case No.
                                       Debtor                                                                                  (if known)

                                                                                          Chapter                                   7



           STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

      If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

             Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.
This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.



  Type of Liability                                                                      Amount
Domestic Support Obligations (from Schedule E)
Taxes and Certain Other Debts Owed to Governmental Units
(from Schedule E)(whether disputed or undisputed)

Claims for Death or Personal Injury While Debtor Was
Intoxicated (from Schedule E)

Student Loan Obligations (from Schedule F)
Domestic Support, Separation Agreement, and Divorce Decree
Obligations Not Reported on Schedule E

Obligations to Pension or Profit-Sharing, and Other Similar
Obligations (from Schedule F)

                                                                           TOTAL

  State the following:
Average Income (from Schedule I, Line 16)                                                       4,584.57
Average Expenses (from Schedule J, Line 18)                                                     4,536.00
Current Monthly Income (from Form 22A Line 12; OR, Form
22B Line 11; OR, Form 22C Line 20)


  State the following:
1. Total from Schedule D, "UNSECURED PORTION, IF
ANY" COLUMN                                                                                                          $1,500.00

2. Total from Schedule E, "AMOUNT ENTITLED TO
PRIORITY" column.

3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
PRIORITY, IF ANY" column.

4. Total from Schedule F                                                                                            $21,900.00
5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                        $23400.00
Official Form 6A (12/07)
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                                        Debtor                                                                                                  (if known)



                                                           SCHEDULE A - REAL PROPERTY
      Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
    tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
    the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H", "W", "J", or "C" in the
    column labeled "Husband, Wife, Joint or Community". If the debtor holds no interest in real property, write "None" under "Description and Location
    of Property".

     Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
    Unexpired Leases.

      If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims
    to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim".

     If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
    Claimed as Exempt.




                                                                                                      Husband, Wife, Joint,
                                                                                                      or Community
                                                                                                                              Current Value of
                                                                                                                              Debtor's Interest in
                                                                                                                              Property Without
                                                                   Nature of Debtor's                                         Deducting Any Secured      Amount of
                                                                   Interest in Property                                       Claim or Exemption         Secured Claim
Description and Location of Property
none




                                                                                                   Total                                         $0.00
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                                                                              Case of 42
                                        Debtor                                                                                                 (if known)



                                                     SCHEDULE B - PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
 place an "X" in the appropriate position in the column labeled "None". If additional space is needed in any category, attach a separate sheet properly
 identified with the same case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the
 property by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint or Community". If the debtor is an individual or a joint
 petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

  Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
 Unexpired Leases.

 If the property is being held for the debtor by someone else, state the person's name and address under "Description and Location of Property".
 If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
 "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                   Husband, Wife, Joint,
                                                                                                                                   or Community
                                                                                                                                                           Current Value of
                                                                                                                                                           Debtor's Interest in
                                                                                                                                                           Property Without
                                                                                                                                                           Deducting Any Secured
Type of Property                                               None Description and Location of Property                                                   Claim or Exemption

1. Cash on hand.                                                  X




2. Checking, savings or other financial                                 Chase Bank Checking & Savings Acct                                j                                        55
accounts, CD's, or shares in banks, savings
and loan, thrift, building and loan, and
homestead associations, or credit unions,
brokerage houses or cooperatives.

3. Security deposits with public utilities,                       X
telephone companies, landlords, and others.




4. Household goods and furnishings, including                           Basic Household furnishings                                       j                                        600
audio, video, and computer equipment.
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                                  Debtor                                                                      (if known)




                                                                                                  Husband, Wife, Joint,
                                                                                                  or Community
                                                                                                                          Current Value of
                                                                                                                          Debtor's Interest in
                                                                                                                          Property Without
                                                                                                                          Deducting Any Secured
Type of Property                                      None Description and Location of Property                           Claim or Exemption
5. Books, pictures and other art objects,               X
antiques, stamp, coin, record, tape, compact
disc, and other collections or collectibles.




6. Wearing apparel.                                         basic wearing apparel                        j                                        65




7. Furs and jewelry.                                    X




8. Firearms and sports, photographic, and               X
other hobby equipment.




9. Interests in insurance policies. Name                X
insurance company of each policy and itemize
surrender or refund value of each.




10. Annuities. Itemize and name each issuer.            X




11. Interests in an education IRA as defined in         X
26 U.S.C. § 530(b)(1) or under a qualified State
tuition plan as defined in 26 U.S.C. § 529(b)(1).
Give particulars.



12. Interest in IRA, ERISA, Keogh, or other             X
pension or profit sharing plans. Give particulars.
Official Form 6B (12/07)
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                                   Debtor                                                                      (if known)




                                                                                                   Husband, Wife, Joint,
                                                                                                   or Community
                                                                                                                           Current Value of
                                                                                                                           Debtor's Interest in
                                                                                                                           Property Without
                                                                                                                           Deducting Any Secured
Type of Property                                       None Description and Location of Property                           Claim or Exemption
13. Stock and interests in incorporated and              X
unincorporated businesses. Itemize.




14. Interests in partnerships or joint                   X
ventures. Itemize.




15. Government and corporate bonds and other             X
negotiable and non-negotiable instruments.




16. Accounts receivable.                                 X




17. Alimony, maintenance, support, and                   X
property settlements to which the debtor is or
may be entitled. Give particulars.




18. Other liquidated debts owing debtor                  X
including tax refunds. Give particulars.




19. Equitable or future interest, life estates, and      X
rights or powers exercisable for the benefit of
the debtor other than those listed in Schedule A
- Real Property.



20. Contingent and noncontingent interests in            X
real estate of a decendent, death benefit plan,
life insurance policy, or trust.
Official Form 6B (12/07)
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                                                                        12No.
                                                                            of 42
                                   Debtor                                                                           (if known)




                                                                                                        Husband, Wife, Joint,
                                                                                                        or Community
                                                                                                                                Current Value of
                                                                                                                                Debtor's Interest in
                                                                                                                                Property Without
                                                                                                                                Deducting Any Secured
Type of Property                                      None Description and Location of Property                                 Claim or Exemption
21. Other contingent or unliquidated claims of          X
every nature, including tax refunds, counter-
claims of the debtor, and rights to setoff claims.
Give estimated value of each.



22. Patents, copyrights, and other intellectual         X
property. Give particulars.




23. Licenses, franchises, and other general             X
intangibles. Give particulars.




24. Customer lists or other compilations contain-       X
ing personally identifiable information provided
to the debtor by individuals in connection with
obtaining a product or service from the debtor pri-
marily for personal, family, or household purposes.

25. Automobiles, trucks, trailers, and other                2006 BMW X3 - lien of 21805 - value 16500          j                                        1500
vehicles and accessories.                                   2003 BMW 325i- lien of 6200 - value 7700




26. Boats, motors, and accessories.                     X




27. Aircraft and accessories.                           X




28. Office equipment, furnishings, and supplies.        X
Official Form 6B (12/07)
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                                                                 13No.
                                                                     of 42
                                 Debtor                                                                        (if known)




                                                                                                   Husband, Wife, Joint,
                                                                                                   or Community
                                                                                                                           Current Value of
                                                                                                                           Debtor's Interest in
                                                                                                                           Property Without
                                                                                                                           Deducting Any Secured
Type of Property                               None Description and Location of Property                                   Claim or Exemption
29. Machinery, fixtures, equipment, and          X
supplies used in business.




30. Inventory.                                   X




31. Animals.                                     X




32. Crops - growing or harvested. Give           X
particulars.




33. Farming equipment and implements.            X




34. Farm supplies, chemicals, and feed.          X




35. Other personal property of any kind not      X
already listed. Itemize.




                                                                                           Total
 B6C (Official Form 6C) (04/10)
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                                                                                  of 42
                                        Debtor                                                                            (if known)



                                           SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                                       $146,450.*
     11 U.S.C. § 522(b)(2)
     11 U.S.C. § 522(b)(3)




                                                                                                                                  Current Value of
                                                                  Specify Law Providing         Value of Claimed                  Property Without
 Description of Property                                          Each Exemption                Exemption                         Deducting Exemption
  Chase Bank Checking & Savings Acct                              735-5/12-1001(b)                                        55.00                           55




  Basic Household furnishings                                     735-5/12-1001(b)                                       600.00                          600




  basic wearing apparel                                           735-5/12-1001(a)                                        65.00                           65




  2006 BMW X3 - lien of 21805 - value 16500                       735-5/12-1001(c)                                     1,500.00                         1500
  2003 BMW 325i- lien of 6200 - value 7700
Official Form 6D (12/07)
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                                        Debtor                                                                                                                      (if known)



                                   SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
        State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
 property of the debtor as of the date of the filing of the petition. The complete account number of any account the debtor has with the creditor is useful
 to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
 judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
        List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
 address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112
 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the
 entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife,
 both of them, or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife,
 Joint, or Community".
        If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column
 labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of
 these three columns.)
        Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes
 labeled "Total(s)" on the last sheet of the completed schedule. Report the total from the column labeled "Amount of Claim Without Deducting Value
 of Collateral" also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
 labeled "Unsecured Portion, if Any" on the Statistical Summary of Certain Liabilities and Related Data.


                  Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                            Husband, Wife, Joint,
                                                            or Community




                                                                                                                                   Unliquidated
                                                                                                                      Contingent
                                                                                    Date Claim was Incurred,                                                 Amount of
                                                            Codebtor




                                                                                                                                                  Disputed
                                                                                    Nature of Lien, and Description                                          Claim Without
Creditor's Name and Mailing Address                                                 and Value of Property                                                    Deducting                    Unsecured
Including Zip Code                                                                  Subject to Lien                                                          Value of Collateral          Portion, If Any
Account Number: 1000453782                                         w                Auto Lien 2007                                 X                                           6199.37                    1500
BMW Bank of North America
Regional Service Center
POB 3608
Dublin, OH 43016
                                                                                    VALUE $                   7700
Account Number: 1000702065                                         w                Auto Lien 2008                                 X                                      21905.29                            0
BMW Bank of North America
Regional Service Center
POB 3608
Dublin, OH 43016
                                                                                    VALUE $                 16500
Account Number:




                                                                                    VALUE $
                                                                                                                         Subtotal
                                                                                                              (Total of this page)                                      $28,104.66                  $1,500.00
                                                                                                                             Total
                                                                                                           (Use only on last page)                                      $28,104.66                  $1,500.00
                                                                                                                                                             (Report also on             (If applicable, report
                                                                                                                                                             Summary of                  also on Statistical
                                                                                                                                                             Schedules.)                 Summary of Certain
                                                                                                                                                                                         Liabilities and Related
                                                                                                                                                                                         Data.)
         0   continuation sheets attached
B6E (Official Form 6E )(04/10)
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                                        Debtor                                                                                          (if known)



                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
    unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
    including zip code, and last four digits of the account number, if any, of all entitires holding priority claims against the debtor or the property of the
    debtor, as of the date of the filing of this petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
    debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
    "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the
    entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both
    of them, or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or
    Community." If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column
    labeled "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of
    these three columns.)

         Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
    E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
    entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
    primarily consumer debts who file a case under chapter 7 or 13 report this total also on the Statistical Summary of Certain Liabilities and Related
    Data.

    Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
    amounts not entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors
    with primarily conusmer debts who file a case under chapter 7 report this total also on the Statistical Summary of Certain Liabilities and Related
    Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS                         (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

          Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
    11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
    independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or
    the cessation of business, whichever occured first, to the extend provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
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                                       Debtor                                                                                         (if known)




         Certain farmers and fishermen
  Claims of certain farmers and fishermen, up to $5,775* per farmer of fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
  Claims of individuals up to $2,600* deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
  that were not delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and Certain Other Debts Owed to Governmental Units
  Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to Maintain the Capital of an Insured Depository Institution
  Claims based on commitments to the FDIC, RTR, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
  Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
  U.S.C. § 507(a)(9).

         Claims for Death or Personal Injury While Debtor Was Intoxicated
  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
  alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




  * Amounts are subject to adjustment on 04/01/13, and every three years thereafter with respect to cases commenced on or after the date of
  adjustment.




         0   continuation sheets attached
Official Form 6F (12/07)
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                                         Debtor                                                                                              (if known)



                   SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
     State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112 and Fed.
R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
     If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated".
If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
   Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts filing a case under chapter 7, report this total also on the Statistical
Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                             Husband, Wife, Joint,
                                                             or Community




                                                                                                                                                            Unliquidated
                                                                                                                                               Contingent
Creditor's Name and Mailing Address                                                  Date Claim was Incurred and
                                                             Codebtor




                                                                                                                                                                           Disputed
Including Zip Code,                                                                  Consideration for Claim. If Claim is
and Account Number                                                                   Subject to Setoff, so State.
                                                                                                                                                                                      Amount of Claim
Account Number: 4888936083867667                                        w            2009                                                                   X                                           3150
Bank of America
POB 15026
Wilmington, DE 19850


Account Number: 5490355110982042                                        w            2007                                                                   X                                           2600
Bank of America
POB 15026
Wilmington, DE 19850


Account Number: 4266841178188247                                        w            2009                                                                   X                                           2800
Chase Bank
POB 15298
Wilmington, DE 19850


Account Number: 5424180600738857                                        w            2008                                                                   X                                           3900
Citi Diamond Preferred Card
POB 6000
The Lakes, NV 89163-6000


                                                                                                                                                        Subtotal
                                                                                                                                                                                                $9,950.00
         2    continuation sheets attached                                                                                                           Total
                                                                                                    (Use only on last page of the completed Schedule F.)
                                                                                (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                     Summary of Certain Liabilities and Related Data.)
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                                      Debtor                                                                                            (if known)




                                                        Husband, Wife, Joint,
                                                        or Community




                                                                                                                                                       Unliquidated
                                                                                                                                          Contingent
Creditor's Name and Mailing Address                                             Date Claim was Incurred and




                                                        Codebtor




                                                                                                                                                                      Disputed
Including Zip Code,                                                             Consideration for Claim. If Claim is
and Account Number                                                              Subject to Setoff, so State.
                                                                                                                                                                                 Amount of Claim
Account Number: 381000271609545                                    w            2006                                                                   X                                           5000
HSBC Direct Rewards
POB 5250
Carol Stream, IL 60197


Account Number: 248-240-220-71                                     w            2009                                                                   X                                            500
JC Penny - GE Money Bank
Attn Bankruptcy Dept
POB 103104
Roswell, GA 30076

Account Number: 042-2922-831                                       w            2009                                                                   X                                            650
Kohls
POB 3043
Milwauikee, WI 53201-3043


Account Number: 5049940163150492                                   w            2009                                                                   X                                            300
Sears Card
POB 6283
Sioux Falls, SD 57117


Account Number: 5888963317152690                                   w            2008                                                                   X                                            500
TJX
POB 15298
Wilmington, DE 19850


Account Number: ***3738                                            w            2009                                                                   X                                            400
Target Natl Bank
c/o Target Credit Services
POB 1581
Minneapolis, MN 55440-1581

Account Number: 198-565-848                                        w            2009                                                                   X                                            500
WFFNB - Avenue
Bankruptcy Dept
POB 182125
Columbus, OH 43218

                                                                                                                                                   Subtotal
                                                                                                                                                                                          $11,650.00
                                                                                                                                                Total
                                                                                               (Use only on last page of the completed Schedule F.)
                                                                           (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                Summary of Certain Liabilities and Related Data.)

Sheet no. 1 of 2 continuation sheets attached to
Schedule of Creditors Holding Unsecured Nonpriority Claims
 Official Form 6F (12/07)
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                                      Debtor                                                                                            (if known)




                                                        Husband, Wife, Joint,
                                                        or Community




                                                                                                                                                       Unliquidated
                                                                                                                                          Contingent
Creditor's Name and Mailing Address                                             Date Claim was Incurred and




                                                        Codebtor




                                                                                                                                                                      Disputed
Including Zip Code,                                                             Consideration for Claim. If Claim is
and Account Number                                                              Subject to Setoff, so State.
                                                                                                                                                                                 Amount of Claim
Account Number: 6011310009922920                                   w            2008                                                                   X                                           1600
Walmart - GE Money Bank
Attn Bankruptcy Dept
POB 103104
Roswell, GA 30076

Account Number:




Account Number:




Account Number:




Account Number:




Account Number:




Account Number:




                                                                                                                                                   Subtotal
                                                                                                                                                                                             $300.00
                                                                                                                                                Total
                                                                                               (Use only on last page of the completed Schedule F.)                                       $21,900.00
                                                                           (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                Summary of Certain Liabilities and Related Data.)

Sheet no. 2 of 2 continuation sheets attached to
Schedule of Creditors Holding Unsecured Nonpriority Claims
Official Form 6G (12/07)
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                                          Debtor                                                                                          (if known)



                             SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
         Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare
         interests. State nature of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or
         lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If
         a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent
         or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112 and
         Fed. R. Bankr. P. 1007(m).

         Check this box if debtor has no executory contracts or unexpired leases.




                                                                                            Description of Contract or Lease and Nature of Debtor's
                                                                                            Interest. State Whether Lease is for Nonresidential Real
Name and Mailing Address, Including Zip Code,                                               Property. State Contract Number of Any Government
of Other Parties to Lease or Contract                                                       Contract
Official Form 6H (12/07)
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                                       Debtor                                                                                       (if known)



                                                              SCHEDULE H - CODEBTORS
      Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by
    debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth,or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any
    former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the
    nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the
    child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
    child's name. See, 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

         Check this box if debtor has no codebtors.


Name and Mailing Address of Codebtor                                                   Name and Mailing Address of Creditor
Official Form 6I (12/07)
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                                        Debtor                                                                                      (if known)


                               SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

 Debtor's Marital                                                               DEPENDENTS OF DEBTOR AND SPOUSE
 Status: Married               RELATIONSHIP              Milan Naffa - Spouse          AGE      55




 Employment:                                 DEBTOR                                                                                   SPOUSE

 Occupation                  Nurse's Assistant                                                        Packager
 Name of Employer            Addus Healthcare, Inc                                                    UPS
 How Long Employed           6 years                                                                  10 years
 Address of Employer         2401 S. Plum Grove Road                                                  2760 Packford Lane
                             Palatine, IL 60067                                                       Aurora, IL 60504




   Income: (Estimate of average monthly income)
   1. Current monthly gross wages, salary, and commissions
      (Prorate if not paid monthly.)                                                                  $                1673.08            $             4868
   2. Estimated monthly overtime                                                                      $                     50            $

   3. SUBTOTAL                                                                                        $                1,723.08           $          4,868.00

         4. LESS PAYROLL DEDUCTIONS
         a. Payroll taxes and social security                                                         $                  297.49           $           394.07
         b. Insurance                                                                                 $                       0           $           338.45
         c. Union dues                                                                                $                       0           $                0
         d. Other (Specify): 863.10 Child support, 113.40-401k, 104.6-401k                            $                       0           $           976.50


         5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                            $                  297.49           $          1,709.02
   6. TOTAL NET MONTHLY TAKE HOME PAY                                                                 $                1,425.59           $          3,158.98

   7. Regular income from operation of business or profession or firm                                 $                        0          $                0
   (Attach detailed statement)
   8. Income from real property                                                                       $                        0          $                0
   9. Interest and dividends                                                                          $                        0          $                0
   10. Alimony, maintenance or support payments payable to the debtor for
      the debtor's use or that of dependents listed above                                             $                        0          $                0
   11. Social security or other government assistance                                                                          0          $                0
      (Specify): 0                                                                                    $
   12. Pension or retirement income                                                                   $                        0          $                0
   13. Other monthly income                                                                           $                        0          $                0
      Specify:

   14. SUBTOTAL OF LINES 7 THROUGH 13                                                                 $                    0.00           $             0.00
   15. TOTAL MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                     $                1,425.59           $         3,158.98
   16. TOTAL COMBINED MONTHLY INCOME        $ 4,584.57


17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
Official Form 6J (12/07)
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                                                                                  of 42
                                           Debtor                                                                                   (if known)



                         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
  Complete this schedule by estimating the average monthly expenses of the debtor and the debtor's family. Pro rate any payments made bi-weekly,
quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income
allowed on Form 22A or 22C.
     Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures
     labeled "Spouse".

1. Rent or home mortgage payment (include lot rented for mobile home)                                                           $                      1300
            a. Are real estate taxes included?         Yes         No
            b. Is property insurance included?            Yes          No

2. Utilities: a. Electricity and heating fuel                                                                                   $                       100
             b. Water and sewer                                                                                                 $                       100
             c. Telephone                                                                                                       $                       126
             d. Other Cable, Cell phones                                                                                        $                       200

3. Home maintenance (repairs and upkeep)                                                                                        $                        25

4. Food                                                                                                                         $                       500
5. Clothing                                                                                                                     $                        10
6. Laundry and dry cleaning                                                                                                     $                        50
7. Medical and dental expenses                                                                                                  $                       350
8. Transportation (not including car payments)                                                                                  $                       400
9. Recreation, clubs and entertainment, newspapers, magazines                                                                   $                        25
10. Charitable contributions                                                                                                    $                         0

11. Insurance (not deducted from wages or included in home mortgage payments)
           a. Homeowner's or renters                                                                                            $                         0
            b. Life                                                                                                             $                         0
            c. Health                                                                                                           $                         0
            d. Auto                                                                                                             $                       147
            e. Other                                                                                                            $                         0

12. Taxes (not deducted from wages or included in home mortgage payments)                                                       $                         0
           Specify:


13. Installment payments: (In chapter 11, 12 or 13 cases, do not list payments to be included in the plan)
            a. Auto                                                                                                             $                      1003
            b. Other                                                                                                            $
            c. Other                                                                                                            $

14. Alimony, maintenance, and support paid to others                                                                            $                       200
15. Payments for support of additional dependents not living at your home                                                       $
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                $
17. Other                                                                                                                       $

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17.)                                                                                $                   4,536.00

19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of
this document:


20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                                            $                   4,584.57
b. Average monthly expenses from Line 18 above                                                                                  $                   4,536.00
c. Monthly net income (a. minus b.)                                                                                             $                      48.57
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                                       Debtor                                                                                     (if known)


                                     DECLARATION CONCERNING DEBTOR(S) SCHEDULES

                                     DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

           I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of sheets (total shown on
           summary page plus 2), and that they are true and correct to the best of my knowledge, information, and belief.


                            9/3/10                                                                                /s/ Enam Asmar

                             Date                                                                               Signature of Debtor

                            9/3/10

                             Date                                                                           Signature of Joint Debtor

                                                                           * * * * * *


                                  DECLARATION AND SIGNATURE OF BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
  compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
  110(h), and 342(b); (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
  chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a
  debtor or accepting any fee from the debtor, as required under that section; and (4) I will not accept any additional money or other property from
  the debtor before the filing fee is paid in full.


   Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                          Social-Security No. (Required by 11 U.S.C. § 110.)
  If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the officer, principal, responsible
  person or partner who signs this document.




         Address

   X
         Signature of Bankruptcy Petition Preparer                                       Date
  Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless te bankruptcy petition preparer is
  not an individual:
  If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.
  A bankruptcy petition preparer's failure to comply with the provisions of Title 11 and the Federal Rules of Bankruptcy Procedure may result in
  fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.




                                                                           * * * * * *

                DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
                    I, ____________________________ named as debtor in this case, declare under penalty of perjury
                    that I have read the foregoing summary of schedules, consisting of sheets (total shown on summary
                    page plus 1), and that the are true and correct to the best of my knowledge, information, and belief.




                           Date                                                                          Signature of Authorized Individual

         Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisionment for up to 5 years or both.
         18 U.S.C. § 152 and 3571.
                                                                                                                                                   Asmar Page 1
B7(Official Form 7)(04/10)
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                                                    FORM 7. STATEMENT OF FINANCIAL AFFAIRS

                                          UNITED STATES BANKRUPTCY COURT
                                                Northern District of Illinois, Eastern Division

In Re:                              Asmar, Enam                                                 Case No.
                                       Debtor                                                                                           (if known)

                                                     STATEMENT OF FINANCIAL AFFAIRS
                  This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
          the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
          information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
          filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
          should provide the information requested on this statement concerning all such activities as well as the individual's personal
          affairs. To indicate payments, transfer and the like to minor children, state the child's initials and the name and address of the
          child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C.
          § 112 and Fed. R. Bankr. P. 1007(m).
                  Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
          must complete Questions 19-25.          If the answer to an applicable question is "None", mark the box labeled "None".
          If additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case
          name, case number (if known), and the number of the question.

                                                                                 DEFINITIONS

                   "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
          individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
          the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more
          of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or
          self-employed full-time or part-time. An individual debtor also may be "in business" for the purpose of this form if the debtor
          engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor's primary
          employment.

                  "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
          their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of
          5 percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders
          of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.


None           1. Income from employment or operation of business

               State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
               the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
               beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
               two years immediately preceding this calender year. (A debtor that maintains, or has maintained, financial records on
               the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
               of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
               under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                   Amount                                       Source
             $9459.20                                         Year-to-date employment income
             $20645                                           2009 Income
             $18757                                           2008 Income
                                                                                                                                                  Asmar Page 2

        Case   10-40210
         2. Income            Docemployment
                   other than from 1 Filedor09/08/10       Entered 09/08/10 11:05:45
                                             operation of business                                                                             Desc Main
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None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the
           debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
           joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
           must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
           petition is not filed.)
               Amount                                       Source




           3. Payments to creditors

None       a. Individual
           Complete    a. or
                          orjoint
                             b., asdebtor(s) with primarily
                                    appropriate,    and c. consumer debts: List all payments on loans, installment purchases
              of goods or services, and other debts, aggregating more than $600 to any creditor, [except for a debt on account
              of a domestic support obligation,] made within 90 days immediately preceding the commencement of this case.
              Indcate with an * any payments that were made to the creditor on account of a domestic support obligation or as
              part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling
              agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                 Dates of                                Amount                                 Amount
           Nane and Address of Creditor                          Payments                                Paid                                   Still Owing

          BMW Bank of N. America                                6/16/10, 6/27/10                     $563.18, $440.99                          $27,904.66
          POB 78066                                             7/16/10, 7/27/10                     $563.18, $440.99
          Pheonix, AZ 85062                                     8/16/10, 8/27/10                     $563.18, $440.99




None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
              within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
              constitutes or is affected by such transfer is less than $5,850. If the debtor is an individual, indicate with an asterisk (*)
              any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
              repayment schedule under a plan by an approved nonprofit budgeting and credit counselig agency. (Married
              debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.

                                                            Dates of Payments/                      Amount Paid or                              Amount
       Name and Address of Creditor                         Transfers                               Value of Transfers                          Still Owing
                                                                                                                                         Asmar Page 3

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None            c. All debtors: List all payment made within one year immediately preceding the commencement of this case
                   to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or
                   chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless
                   the spouses are separated and a joint petition is not filed.)


Name and Address of Creditor                                    Date                                        Amount                     Amount
and Relationship to Debtor                                      of Payment                                  Paid                       Still Owing




                4. Suits and administrative proceedings, executions, garnishments and attachments

None            a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
                  preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
                  information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are
                  separated and a joint petition is not filed.)
Caption of Suit                                                                                       Court or Agency                  Status or
and Case Number                                               Nature of Proceeding                    and Location                     Disposition
                                                                                                                                            Asmar Page 4

None        Case    10-40210
             b. Describe all property thatDoc    1 attached,
                                          has been     Filed     09/08/10
                                                             garnished               Entered
                                                                        or seized under any legal or09/08/10        11:05:45
                                                                                                     equitable process within one         Desc Main
                                                         Document
               year immediately preceding the commencement                         Page
                                                               of this case. (Married debtors29    ofunder
                                                                                              filing   42chapter 12 or chapter
                13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
                unless the spouses are separated and a joint petition is not filed.)
Name and Address of Person for Whose                                Date of                                    Description and
Benefit Property was Seized                                         Seizure                                    Value of Property




              5. Repossessions, foreclosures and returns

None          List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
              of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
              (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                    Date of Repossession,
          Name and Address of                                       Foreclosure Sale,                          Description and Value
          Creditor or Seller                                        Transfer or Return                         of Property
                                                                                                                                              Asmar Page 5

             Case  10-40210
              6. Assignments       Doc 1 Filed 09/08/10 Entered 09/08/10 11:05:45
                             and receiverships                                                                                         Desc Main
                                               Document Page 30 of 42
None            a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
                  commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment
                  by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                  petition is not filed.)
                  Name and Address                                   Date of                                            Terms of Assignment
                  of Assignee                                        Assignment                                         or Settlement




None         b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
                immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
                must include information concerning property of either or both spouses whether or not a joint petition is filed,
                unless the spouses are separated and a joint petition is not filed.)
Name and Address                                     Name and Location of Court                                                          Description and
of Custodian                                         Case Title & Number                            Date of Order                        Value of Property
                                                                                                                                                     Asmar Page 6

                  Case  10-40210
                   7. Gifts                      Doc 1          Filed 09/08/10 Entered 09/08/10 11:05:45                                        Desc Main
                                                                 Document     Page 31 of 42
    None            List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
                    except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
                    and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
                    chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
                    the spouses are separated and a joint petition is not filed.)
    Name and Address of Person                                   Relationship to                                                                Description and
    or Organization                                              Debtor, if any                            Date of Gift                         Value of Gift




                    8. Losses

    None            List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
                    of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                    include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                    joint petition is not filed.)
                                                                            Description of Circumstances and, if
    Description and Value                                                   Loss was Covered in Whole or in Part
    of Property                                                             by Insurance, Give Particulars.                                      Date of Loss




                    9. Payments related to debt counseling or bankruptcy

    None            List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
                    consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
                    within one year immediately preceding the commencement of this case.
    Name and Address                                     Date of Payment, Name of                                   Amount of Money or Description
    of Payee                                             Payor if other than Debtor                                 and Value of Property
Dima Abuasabeh                                                          7/15/10 & 9/1/10                           $1,200
4747 Lincoln Mall Dr, 601
Matteson, IL 60443

Greenpathbk.com                                                                                                    $50
                                                                                                                                                      Asmar Page 7

              Case  10-40210
               10. Other transfers Doc 1                    Filed 09/08/10 Entered 09/08/10 11:05:45                                          Desc Main
                                                             Document     Page 32 of 42
None            a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
                   the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
                   this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
                   whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
Name and Address of Transferree,                                                                                      Describe Property Transferred
Relationship to Debtor                                                    Date                                        and Value Received




None           b. List all property transferred by the debtor within ten years immediately preceding the commencement of this
               case to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                                         Amount of Money or Description and Value
Name of Trust or Other Device                                           Date(s) of Transfer(s)           of Property or Debtor's Interest in Property




                11. Closed financial accounts

None           List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
               closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
               checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
               held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
               institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
               instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are
               separated and a joint petition is not filed.)
                                                                       Type of Account, Last Four
Name and Address                                                       Digits of Account Number,                                                 Amount and Date of
of Institution                                                         and Amount of Final Balance                                               Sale or Closing
                                                                                                                                              Asmar Page 8

             Case  10-40210 Doc 1
              12. Safe deposit boxes
                                                            Filed 09/08/10 Entered 09/08/10 11:05:45                                        Desc Main
                                                             Document     Page 33 of 42
None           List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
               within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
               chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
               the spouses are separated and a joint petition is not filed.
Name and Address of Bank                                 Names and Addresses of those with                                                     Date of Transfer
or Other Depository                                      Access to Box or Depository                Description of Contents                    or Surrender, if any




                13. Setoffs

None            List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
                the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
                concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                petition is not filed.)
Name and Address of Creditor                                               Date of Setoff                                                    Amount of Setoff




                14. Property held for another person

None            List all property owned by another person that the debtor holds or controls.

Name and Address of Owner                                                  Description and Value of Property                                 Location of Property
                                                                                                                                                  Asmar Page 9

                Case 10-40210                 Doc 1          Filed 09/08/10 Entered 09/08/10 11:05:45                                          Desc Main
                  15. Prior address of debtor                 Document     Page 34 of 42
    None          If the debtor has moved within the three years immediately preceding the commencement of this case, list all premises
                     which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
                     filed, report also any separate address of either spouse.
    Address                                                                  Name Used                                                           Dates of Occupancy

1665 Williamburg Court                                              Enam Asmar                                                                 2006-2009
Wheaton, IL 60189




                  16. Spouses and former spouses

    None          If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                  California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
                  year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
                  any former spouse who resides or resided with the debtor in the community property state.
    Name
                                                                                                                                            Asmar Page 10

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                                                          Document     Page 35 of 42
              17. Environmental information

              For the purpose of this question, the following definitions apply:

              "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
              releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
              other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
              or material.

              "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
              formerly owned or operated by the debtor, including, but not limited to, disposal sites.

              "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
              material, pollutant, or contaminant or similar term under an Environmental Law.

None          a. List the name and address of every site for which the debtor has received notice in writing by a governmental
              unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
              governmental unit, the date of the notice, and, if known, the Environmental Law.
                                                       Name and Address of
Site Name and Address                                  Governmental Unit                           Date of Notice                            Environmental Law




None          b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
              of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                       Name and Address of
Site Name and Address                                  Governmental Unit                           Date of Notice                            Environmental Law




None          c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
                 respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or
                 was a party to the proceeding, and the docket number.
 Name and Address of Governmental Unit                             Docket Number                                                          Status or Disposition
                                                                                                                                              Asmar Page 11

             Case 10-40210                  Doc 1           Filed 09/08/10 Entered 09/08/10 11:05:45                                        Desc Main
                                                             Document     Page 36 of 42
               18. Nature, location and name of business

None           a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
                 and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
                 executive of a corporation, partner in a partnership, sole proprietor, or was a self-employed in a trade, profession, or
                 other activity either full- or part-time within the six-years immediately preceding the commencement of this case,
                 or in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
                 preceding the commencement of this case.

                 If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
                 and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
                 the voting or equity securities, within the six years immediately preceding the commencement of this case.

                 If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses,
                 and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
                 the voting or equity securities within the six years immediately preceding the commencement of this csae.
Name, Address, Last Four Digits of Soc. Sec. No.                                                                                             Beginning and
Complete EIN or Other Taxpayer I.D. No.                               Nature of Business                                                     Ending Dates




None           b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
                 defined in 11 U.S.C. § 101.
Name                                                                                                                              Address
                                                                                                                                                  Asmar Page 12

            Case questions
       The following   10-40210              Doc 1by every
                                 are to be completed        Filed
                                                                debtor09/08/10             Entered
                                                                        that is a corporation             09/08/10
                                                                                              or partnership               11:05:45
                                                                                                             and by any individual   debtor   Desc Main
                                                              Document
   who is or has been, within the six years immediately preceding     the commencement  Page        37 any
                                                                                           of this case, of of42
                                                                                                               the following: an officer,
   directory, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a partner,
   other than a limited partner, of a partnership; a sole proprietor or otherwise self-employed.

       (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as
   defined above, within the six years immediately preceding the commencement of this case. A debtor who has not been in business
   within those six years should go directly to the signature page.)



               19. Books, records and financial statements

None           a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this
               bankruptcy case kept or supervised the keeping of books of account and records of the debtor.
Name and Address                                                                                                                    Dates Services Rendered




None           b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case
                 have audited the books of account and records, or prepared a financial statement of this debtor.

Name and Address                                                                                                                    Dates Services Rendered




None           c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of
                  account and records of the debtor. If any of the books of account and records are not available, explain.

Name and Address




None           d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
                 financial statement was issued within the two years immediately preceding the commencement of this case by the debtor.


Name and Address                                                                                                                         Date Issued
                                                                                                                                                 Asmar Page 13

             Case   10-40210
              20. Inventories                Doc 1          Filed 09/08/10 Entered 09/08/10 11:05:45                                        Desc Main
                                                             Document     Page 38 of 42
None            a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking
                  of each inventory, and the dollar amount and basis of each inventory.
                                                                                                                      Amount of Inventory
Date of Inventory                               Inventory Supervisor                                                  (Specify cost, market or other basis)




                b. List the name and address of the person having possession of the records of each of the two inventories
None              reported in a., above.

Date of Inventory                                                  Name and Address of Custodian of Inventory Records




                21. Current Partners, Officers, Directors and Shareholders

None            a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
                  partnership.

Name and Address                                                       Nature of Interest                                                    Percentage of Interest




None            b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly
                  or indirectly owns, controls, or holds 5 percent or more of the voting securities of the corporation.
                                                                                                                                             Nature and Percentage
Name and Address                                                       Title                                                                 of Stock Ownership
                                                                                                                                                Asmar Page 14

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             22. Former           Doc 1 directors
                        partners, officers, Filedand
                                                  09/08/10
                                                     shareholdersEntered 09/08/10 11:05:45                                                 Desc Main
                                             Document         Page 39 of 42
None           a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
               preceding the commencement of this case.
Name and Address                                                                                                           Date of Withdrawal




None           b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated
                 within one year immediately preceding the commencement of this case.
Name and Address                                                       Title                                                                 Date of Termination




               23. Withdrawals from a partnership or distributions by a corporation

None           If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider
               including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during
               one year immediately preceding the commencement of this case.
Name and Address of Recipient,                                                                                                               Amount of Money
Relationship to Debtor                                                 Date and Purpose of Withdrawal                                        and Value of Property




               24. Tax consolidation group

None           If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any
               consolidated group for tax purposes of which the debtor has been a member at any time within the six-year period
               immediately preceding the commencement of this case.
Name of Parent Corporation                                                                                                 Taxpayer Identification Number




               25. Pension funds

None           If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to
               which the debtor, as an employer, has been responsible for contributing at any time within the six-year period
               immediately preceding the commencement of this case.
Name of Pension Fund                                                                                                       Taxpayer Identification Number
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 [If completed by an individual or individual and spouse.]

 I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
 attachments thereto and that they are true and correct.


                 9/3/10                                                            X   /s/ Enam Asmar
                 Date                                                                  Signature of Debtor

                 9/3/10                                                            X
                 Date                                                                  Signature of Joint Debtor




                            ___________________________________________________________________________




 [If completed on behalf of a partnership or corporation]

 I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
 attachments thereto and that they are true and correct to the best of my knowledge, information and belief.




                                                                                   X
                 Date                                                                  Signature of Authorized Individual

                                                                                       ,
                                                                                       Printed Name and Title




                              DECLARATION AND SIGNATURE OF BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
110(h), and 342(b); (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a
debtor or accepting any fee from the debtor, as required under that section; and (4) I will not accept any additional money or other property from
the debtor before the filing fee is paid in full.


 Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                          Social-Security No. (Required by 11 U.S.C. § 110.)
If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the officer, principal, responsible
person or partner who signs this document.




     Address

 X
     Signature of Bankruptcy Petition Preparer                                         Date
Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless te bankruptcy petition preparer is
not an individual:
If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.
A bankruptcy petition preparer's failure to comply with the provisions of Title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
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                              UNITED STATES BANKRUPTCY COURT
                                   Northern District of Illinois, Eastern Division


In Re:                  Asmar, Enam                                      Case No.
                           Debtor                                                                         (if known)




                                   VERIFICATION OF CREDITOR MATRIX


                 The above named debtor(s), or debtor's attorney if applicable, do hereby certify under

              penalty of perjury that the attached Master Mailing List of creditors, consisting of sheet(s) is
              complete, correct and consistent with the debtor's schedules pursuant to Local Bankruptcy

              Rules and I/we assume all responsibility for errors and omissions.




            9/3/2010                                                                  /s/ Dima F. Abuasabeh
               Date                                                                   Signature of Attorney




             /s/ Enam Asmar
             Signature of Debtor                                                      Signature of Joint Debtor




             Signature of Authorized Individual
B3A (Official Form 3A) (12/07)
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                                     UNITED STATES BANKRUPTCY COURT
In Re:                           Asmar, Enam                                     Case No.
                                   Debtor                                                                          (if known)
                                                                                 Chapter                               7


                                   APPLICATION TO PAY FILING FEE IN INSTALLMENTS
1.    In accordance with Fed. R. Bankr. P. 1006, I apply for permission to pay the filing fee amounting to $ in installments.

2.    I am unable to pay the filing fee except in installments.

3.    Until the filing fee is paid in full, I will not make any additional payment or transfer any additional property to an attorney or any other person
     for services in connection with this case.

4.    I propose the following terms for the payment of the Filing Fee.*

                       $                               Check one          With the filing of the petition, or
                                                                          On or before

                       $                              on or before

                       $                              on or before

                       $                              on or before

* The number of installments proposed shall not exceed four (4), and the final installment shall be payable not later than 120 days after filing
the petition. For cause shown, the court may extend the time of any installment, provided the last installment is paid not later than 180 days after
    filing the petition. Fed. R. Bankr. P. 1006(b)(2).
5. I understand that if I fail to pay any installment when due my bankruptcy case may be dismissed and I may not receive a discharge of my
debts.
   /s/ Dima F. Abuasabeh                         9/3/10                          /s/ Enam Asmar                            9/3/10
                                                     Date                             Signature of Debtor                             Date
     /s/ Dima F. Abuasabeh                                                                                                        9/3/10
     Name of Attorney                                                                 Signature of Joint Debtor                       Date
